            Case 3:16-bk-02230-PMG               Doc 1253        Filed 11/01/18       Page 1 of 9



                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


In re:
                                                    Case No. 3:16-bk-02230-PMG
RMS TITANIC, INC., et al., 1                        Chapter 11 (Jointly Administered)

                 Debtors.


            NOTICE OF FILING EXHIBITS C AND D TO SEVENTH INTERIM
         APPLICATION FOR ALLOWANCE AND PAYMENT OF COMPENSATION
           AND REIMBURSEMENT OF EXPENSES OF MCGUIREWOODS LLP
               AS SPECIAL LITIGATION COUNSEL FOR THE DEBTORS

         Special Counsel, McGuireWoods LLP hereby gives notice of the filing of Exhibits C and

D to its Seventh Interim Application for Allowance and Payment of Compensation and

Reimbursement of Expenses of McGuireWoods LLP as Special Litigation Counsel for the

Debtors, which was inadvertently omitted from its previous filing today [D.E. 1252].




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp.
(7309). The Debtors’ service address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.

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Case 3:16-bk-02230-PMG   Doc 1253     Filed 11/01/18    Page 2 of 9



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          Case 3:16-bk-02230-PMG          Doc 1253     Filed 11/01/18    Page 3 of 9



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
filed with the Clerk of the Court using CM/ECF on November 1, 2018. I also certify that the
foregoing document is being served this day on the following counsel of record via transmission
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          Case 3:16-bk-02230-PMG             Doc 1253   Filed 11/01/18    Page 6 of 9



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          Case 3:16-bk-02230-PMG     Doc 1253   Filed 11/01/18   Page 8 of 9



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